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AO 91 (Rev. 11/11) Criminal Complaint

 

 

   

 

 

TT ANGE
UNITED STATES DISTRICT COURT

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2019 DEC 23 AMIN: 28 saree CLERK, US. DISTRICT COURT

Like 9 Bist SI RIG 7 cour Central District of California DEC 92 9nlg
a Deni OF AMERICA, CENTRAL DISTBICT OF CALIFORNIA
RY BY TY DEPUTY
Vv.

ADELINA MAGANA FERNANDEZ, Case No.

Defendant. E O1 9- 0 68 OM

 

CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about November 23, 2019, in the County of San Bernardino in the Central District of California, the
defendant violated:
Code Section Offense Description
18 U.S.C. § 751(a) Escape from the Custody of the Attorney General
This criminal complaint is based on these facts: |
Please see attached affidavit.
Continued on the attached sheet.
ee
Complainants signat

Johnathan Autry, Deputy U.S. Marshal

 

Printed name and title

Sworn to before me and signed in my presence. —
[) qa G —
Date: [2/2371 f

 

 

= Judge’s signature

City and state: Riverside, California Hon. SHASHI H. KEWALRAMANT, U.S. Magistrate Judge

 

 

Printed name and title

AUSA: John A. Balla (951-276-6246)
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AFFIDAVIT
I, Johnathan Autry, being duly sworn, declare and state as
follows:
I. INTRODUCTION

1. I am a Deputy United States Marshal with the United
State Marshals Service (“USMS”). TI have been so employed since
August 2008. I am currently assigned to the USMS Riverside Sub-
Office in the Central District of California.

2. This affidavit is made in support. of a complaint and
an arrest warrant against. Adelina Magana FERNANDEZ
(“FERNANDEZ”), for Escape from the. Custody of the Attorney
General, in violation of 18 U.S.C. § 751(a).

3.. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various. Law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is. sufficient probable cause for the requested complaint and
warrant and does. not purport to set forth all of my. knowledge of
or investigation into this matter. Unless specifically
indicated otherwise, all conversations and statements described
in this affidavit are related in substance and in part only.

Il. STATEMENT OF PROBABLE CAUSE

 

4. T have reviewed records from the Federal Correctional
Complex (“FCC”), Victorville, and I Learned the following:
a. FERNANDEZ, a federal prisener dt the FCC
Victorville women’s prison camp was. missing during the 9:30 p.m.

“stand up” inmate count on November 23, 2019. Correctional
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officers then conducted a thorough search of the women’s prison
camp at FCC Victorville, and they could not locate FERNANDEZ.
On November 24, 2019, at 12:12 a.m., inmate FERNANDEZ was deemed
an escapee.
5S. I have also reviewed court records and Bureau of

Prisons records, and I learned the following:

a. FERNANDEZ was convicted of violating 21 U.S.C.
§§ 841(a) (1), (b) (1) (B) (viii) and 18 U.S.C. § 2, Aiding and
Abetting Distributich of a Mixture or Substance Containing More
Than 5 Grams of Methamphetamirie, in the United States District
Court for the Western District of Arkansas, Case Number 5:15-CR-
50079+-TLB, on or about December 14, 2015. On March 31, 2016,
the Horiorable Timothy L. Brooks, United States District Judge,
sentenced FERNANDEZ to 168 months. of imprisonment. FERNANDEZ
was serving that sentence at FCC Victorville, and her estimated
release date is unknown.

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IIIT. CONCLUSION
6. For the reasons described above, there is probable
cause to believe that FERNANDEZ has violated 18 U.S.C. § 75l (a),

Escape from the Custody of the Attorney General.

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JOHNATHAN AUTRY
Deputy United States Marshal
United States Marshals Service

Subscribed to and sworn before
me this Z3&° day of December,
2019.

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aw

UNITED STATES MAGISTRATE JUDGE
SHASHI H. KEWALRAMANI
